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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 IMPLICIT, LLC,                                          Civil Action No. 2:18-cv-00053-JRG-RSP
                                                                       LEAD CASE
                   Plaintiff,
         v.                                                     JURY TRIAL DEMANDED

 NETSCOUT SYSTEMS, INC.,

                   Defendant.
 v.                                                      Civil Action No. 2:18-cv-00054-JRG-RSP
                                                                    CONSOLIDATED
 SANDVINE CORPORATION,

                   Defendant.



                           STIPULATION REGARDING INVALIDITY

       Whereas, given Defendants will not put on an invalidity case, Plaintiff Implicit, LLC

(“Implicit”) and Defendants NetScout Systems, Inc. (“NetScout”) and Sandvine Corporation

(“Sandvine”) (Sandvine and NetScout together being the “Defendants”, and together with Implicit,

the “Parties”) hereby stipulate to the following:

                 Defendants will not affirmatively offer any argument, testimony, or evidence
                  relating to any alleged prior art referenced in Dr. Jeffay’s invalidity report,
                  including SCOUT (Mosberger), PacketShaper, Decapser, or SPIN/Plexus, or any
                  other invalidity basis (e.g., lack of written description, on sale bar, etc.).

                 Defendants will not offer any argument, evidence, or testimony that they do not
                  infringe based upon their products allegedly “practicing the prior art.” Defendants
                  will not compare the functionality of the Accused Products to the functionality in
                  any alleged prior art, including SCOUT (Mosberger), PacketShaper, Decapser,
                  SPIN/Plexus or any other alleged prior art referenced in Dr. Jeffay’s invalidity
                  report.

                 Notwithstanding the foregoing, Defendants agree that they will approach the Court
                  if they believe that Implicit has opened the door to allow Defendants to present
                  evidence and argument relating to prior art referenced in Dr. Jeffay’s invalidity


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               report as further described in the next paragraph. Implicit does not concede that
               such arguments and evidence should be before the jury and reserves its rights to
               object to Defendants presenting such arguments and evidence.

              Notwithstanding the foregoing, to the extent that Implicit attempts to generalize the
               nature of its invention (e.g., flow-based processing and/or application level
               inspection and/or deep packet inspection), Defendants reserve the right to present
               testimony, argument, or evidence that such general concepts were known in the art
               at the time of invention, including through reference to the prior art discussed in
               Dr. Jeffay’s invalidity report. Implicit does not concede that such arguments and
               evidence should be before the jury and reserves its rights to object to NetScout
               presenting such arguments and evidence.


Date   December 3, 2019

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                                                     and Sandvine Corporation.
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document is being filed electronically on

December 3, 2019 in compliance with Local Rule CV-5(a). As such, this document is being served

on all counsel, who are deemed to have consented to electronic service. See Local Rule CV-

5(a)(3)(V).


                                           /s/ Brandon C. Martin
                                           Brandon C. Martin




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